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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

JOHN SMENTEK,                                      )
                                                   )
      Plaintiff,                                   )
                                                   ) No. 09 CV ____
      -vs-                                         )
                                                   ) (jury demand)
SHERIFF OF COOK COUNTY,                            ) FILED: JANUARY 27, 2009
and COOK COUNTY, ILLINOIS                          ) 09CV529
                                                   )
                                                     JUDGE LEFKOW
      Defendants.                                  )
                                                     MAGISTRATE JUDGE BROWN
                                 COMPLAINT
                                                    PH
      Plaintiff, by counsel, alleges as follows:

 1.   This is a civil action arising under 42 U.S.C. §1983. The jurisdiction of
      this Court is conferred by 28 U.S.C. §1343.

 2. Defendants are the Sheriff of Cook County and Cook County, Illinois.
      The Sheriff is sued in his official capacity only.

 3. Defendants are responsible for providing medical and dental care to
      prisoners at the Cook County Jail.

 4. Defendants have at all times known that broken, infected, or otherwise
      diseased teeth and gums can be excruciatingly painful and, if untreated,
      can result in serious permanent injury.

 5. Defendants have also at all times known that dental care is one of the
      most important medical needs of inmates.

 6.   At all times relevant, defendants have declined to require a dental
      screening of persons being processed into the jail and have required
      prisoners who were in need of dental treatment to endure a lengthy wait
      before receiving treatment.
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 7.   In 2007, defendants effectively discontinued dental services by eliminating
      the positions of all but one dentist, who was to be responsible for the care
      of the ten thousand persons.

 8. Plaintiff John Smentek was confined at the Cook County Jail from Sep-
      tember 22, 2007 to March 14, 2008.

 9. Within two weeks of entering the jail, plaintiff began to experience severe
      tooth pain and submitted a request for dental services.

10. Plaintiff did not receive a response to his first request for dental services.
      Thereafter, plaintiff submitted numerous additional requests for dental ser-
      vices.

11. Plaintiff did not receive any dental services while he was confined at the
      Jail.

12.   On or about March 14, 2008, plaintiff was transferred to the Illinois
      Department of Corrections.

13. While in the Illinois Department of Corrections, received dental services
      and was required to undergo fourteen or fifteen tooth extractions.

14.   As the result of defendant’s policies, plaintiff experienced great pain and
      suffering and incurred permanent damage to his mouth.

15. Defendants’ above described actions were taken in deliberate indifference
      to the dental needs of prisoners at the Cook County Jail.

16. Plaintiff hereby demands trial by jury.
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       Wherefore plaintiffs request that judgment be entered in his favor in an
amount in excess of fifty thousand dollars and that the Court grant such relief as
may be appropriate. to each member of the proposed class as may be appropri-
ate.


                                        /s/ Kenneth N. Flaxman
                                        ________________________
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